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                             EXHIBIT A




    DEFENDANTS’ MOTION FOR COURT ORDER AUTHORIZING
    ISSUANCE OF CORRECTED SUBPOENAS DUCES TECUM TO
                   KELLY’S FOODS, INC.
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AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                     __________      of Colorado
                                                                 District   of __________
                  United States of America                                 )
                             v.                                            )
                Jayson Jeffrey Penn, et. al.                               )        Case No. 20-cr-00152-PAB
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Kelly's Foods, Inc.
        650 Carter Road, Winter Garden, FL 34787
                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
The documents set forth in Attachment A.


Place: Alfred A. Arraj United States Courthouse                                     Date and Time: 08/19/2021 5:05 pm
         Courtroom A701 - 901 19th Street
         Denver, CO 80294                                                                  1LFN5LFKDUGV&RXUWURRP6HUYLFHVQG)ORRU

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:        08/06/2021
                                                                                    CLERK OF COURT


                                                                                                  Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)    Rickie Patterson Blake
                                                                                      , who requests this subpoena, are:
 Wendy W. Johnson, RMP LLP - 5519 Hackett Street. Ste 300, Springdale, AR 72762; wjohnson@rmp.law;
 tel: 479-883-2420; fax: 479-443-2718

                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
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AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No. 20-cr-00152-PAB

                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                            .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                   for travel and $                             for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
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                                           ATTACHMENT A
  To:      Kelly’s Foods, Inc.
           650 Carter Road
           Winter Garden, FL 34767


  Definitions

        1. All terms are to be interpreted according to the normal and ordinary use of those terms
           unless otherwise defined herein. All terms are to be interpreted in as inclusive a manner
           as possible.

        2. “DOCUMENT” means any kind of written, typewritten, printed, graphic, or recorded
           material or electronically stored information, including but not limited to notes,
           calendars, memoranda, letters, electronic mail, reports, analyses, telegrams, publications,
           CONTRACTS, audio or video recordings, transcriptions of audio or video recordings,
           business records, magnetically encoded information, and electronically stored
           compilations, and includes, without limitation, originals, drafts, working papers, and
           similar materials, and each and every non-identical copy, whether different from the
           original because of stamps, indications of the recipient(s), handwritten notes, marks,
           attachments, or for any other reason.
        3. “COMMUNICATION” means each instance of the conveyance or transmittal of
           information, whether electronic, oral, or written.

        4. “COMPANY” and the plural “companies” means a business entity of any kind, including
           any related entities, predecessors, successors, subsidiaries, parent companies, or affiliates
           and the executives, employees, partners, members, owners, directors, officers, attorneys,
           agents, or other representatives of the entity and any related entities.

        5. “PRICE” means a cost, worth, value, rate, fee, fare, toll, bill, expense, due, valuation,
           charge, or any element that makes up a cost, either monetary or otherwise.

        6. “BROILER CHICKEN PRODUCTS” means any products, items, merchandise, stock, or
           yield related to chicken.

        7. “CONTRACT” means any formal or informal agreement or any formal or informal
           modification thereto to purchase or sell BROILER CHICKEN PRODUCTS or otherwise
           conduct business with CHICKEN PURCHASERS.

        8. “CHICKEN PURCHASER” means any individual or COMPANY that negotiates for,
           purchases, procures, buys, trades for, pays for, or otherwise acquires BROILER
           CHICKEN PRODUCTS directly from COMPANIES that manufacture or produce those
           products, either individually or collectively as a purchasing cooperative; including, but
           not limited to, the following companies:
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            a. RSCS

            b. KFC

            c. SMS

            d. POPEYES

            e. GOLDEN CORRAL

            f. CHURCH’S

            g. SYSCO

            h. JOHN SOULES FOODS

            i. CHICK-FIL-A

            j. COSTCO

     9. “RSCS” means Restaurant Supply Chain Solutions, LLC, formerly known as Unified
        Foodservice Purchasing Co-op, Inc. or UFPC, and any related companies, predecessors,
        successors, subsidiaries, or parent companies and the executives, employees, partners,
        members, owners, directors, officers, attorneys, agents, or other representatives of those
        companies.

     10. “KFC” means Kentucky Fried Chicken Corporation and any related companies,
         predecessors, successors, subsidiaries, parent companies or affiliates and the executives,
         employees, partners, members, owners, directors, officers, attorneys, agents, or other
         representatives of the company and any related companies.

     11. “SMS” means Supply Management Services, Inc. and any related companies,
         predecessors, successors, subsidiaries, parent companies or affiliates and the executives,
         employees, partners, members, owners, directors, officers, attorneys, agents, or other
         representatives of the company and any related companies.

     12. “POPEYES” means Popeyes Louisiana Kitchen, Inc. and any related companies,
         predecessors, successors, subsidiaries, parent companies or affiliates and the executives,
         employees, partners, members, owners, directors, officers, attorneys, agents, or other
         representatives of the company and any related companies.

     13. “GOLDEN CORRAL” means Golden Corral Corporation and any related companies,
         predecessors, successors, subsidiaries, parent companies or affiliates and the executives,
         employees, partners, members, owners, directors, officers, attorneys, agents, or other
         representatives of the company and any related companies.

     14. “CHURCH’S” means Church’s Fried Chicken, Inc. and any related companies,
         predecessors, successors, subsidiaries, parent companies or affiliates and the executives,
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        employees, partners, members, owners, directors, officers, attorneys, agents, or other
        representatives of the company and any related companies.

     15. “SYSCO” means Sysco Corporation and any related companies, predecessors,
         successors, subsidiaries, parent companies or affiliates and the executives, employees,
         partners, members, owners, directors, officers, attorneys, agents, or other representatives
         of the company and any related companies.

     16. “JOHN SOULES FOODS” means John Soules Foods, Inc. and any related companies,
         predecessors, successors, subsidiaries, parent companies or affiliates and the executives,
         employees, partners, members, owners, directors, officers, attorneys, agents, or other
         representatives of the company and any related companies.

     17. “CHICK-FIL-A” means Chick-fil-A, Inc. and any related companies, predecessors,
         successors, subsidiaries, parent companies or affiliates and the executives, employees,
         partners, members, owners, directors, officers, attorneys, agents, or other representatives
         of the company and any related companies.

     18. “COSTCO” means Costco Wholesale Corporation and any related companies,
         predecessors, successors, subsidiaries, parent companies or affiliates and the executives,
         employees, partners, members, owners, directors, officers, attorneys, agents, or other
         representatives of the company and any related companies.

     19. “YOU,” “YOUR” and “KELLY’S FOODS” means any member, employee, owner,
         officer, director, or agent of Kelly’s Foods, Inc.

     20. “relating to” means concerning, describing, evidencing, supporting, discussing,
         consisting of, referring to, reflecting on, arising out of, embodying, identifying, dealing
         with, or being in any way legally, factually, or logically connected with the referenced
         matter.

     21. The singular includes the plural and vice versa; the words “and” and “or” shall be both
         conjunctive and disjunctive; the words “all,” “each,” and “any” mean “any and all”; and
         the word “including” means “including without limitation.”
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     Instructions
     1. YOU are required to submit all DOCUMENTS in YOUR custody and control responsive
        to this subpoena to Chief Judge Brimmer at the United States District Court located at:
        Alfred A. Arraj United States Courthouse, Courtroom A701
        901 19th Street
        Denver, CO 80294
     2. All terms are to be interpreted according to the normal and ordinary use of those terms
        unless otherwise defined herein. All terms are to be interpreted in as inclusive a manner
        as possible.
     3. All DOCUMENTS submitted to the Court pursuant to this subpoena will be reviewed in
        camera prior to being disseminated to the parties to the above-captioned case. All
        DOCUMENTS provided to the parties will be subject to the current protective order in
        this case imposing limitations on dissemination of information to third parties.
     4. The requests herein shall be deemed to request the production of any and all
        DOCUMENTS and things within the actual or constructive possession, custody, or
        control of KELLY’S FOODS, INC. These requests require YOU to produce
        DOCUMENTS that are stored in any physical location or may be stored electronically on
        any media, including on any personal computers, mobile telephones, tablets, servers,
        telephones, or other electronic devices in YOUR possession, custody, or control. This
        includes without limitation personal emails and text messages.
     5. Each request is to be construed independently, and no request is to be viewed as limiting
        the scope of any other request. If YOU assert that any part of a request is objectionable,
        respond to the remaining parts of the request to which YOU do not object.
     6. The DOCUMENTS are to be produced as they are kept in the usual course of business or
        organized and labeled to correspond with the requests in this subpoena. The gathering
        and processing of DOCUMENTS from electronic media and other sources is to be
        performed in such a manner as to ensure that the files or other source from which the
        DOCUMENT is obtained may be identified.
     7. Produce the entirety of any requested DOCUMENT, including all related attachments,
        enclosures, cover letters or emails, memoranda, exhibits, or appendices. Copies that
        differ in any respect from an original (because, by way of example only, handwritten or
        printed notations were added) should be treated as separate DOCUMENTS and produced
        separately. Each draft of a DOCUMENT should be treated as a separate DOCUMENT
        and produced separately.
        To the extent possible, produce originals of DOCUMENTS. If producing copies,
        produce DOCUMENTS in color if the DOCUMENT is not just black and white.
     8. Any DOCUMENT stored electronically, including any DOCUMENT stored as electronic
        as a data compilation on magnetic, optical, or other storage media as “active” or
        “backup” files, shall be produced in a manner that maintains the integrity and readability
        of all data, including all metadata.
     9. If information stored in, or accessible through, computer or other data retrieval systems is
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        produced, it must be accompanied with instructions, software or computer code, and all
        other materials necessary to use or interpret such data.
     10. In the event a known responsive DOCUMENT or portion thereof is withheld for any
         reason, indicate the following information for each such withheld DOCUMENT, or
         portion thereof:
            a. the date of the DOCUMENT;
            b. the general character of the DOCUMENT (i.e., letter, memorandum, or notes,
               etc.);
            c. the identity of the person in possession of the DOCUMENT and the
               DOCUMENT’S location (either current or last known);
            d. the identity of the author of the DOCUMENT;
            e. the identity of all recipients of the DOCUMENT;
            f. all persons not employed by MCKINSEY, including the DEPARTMENT OF
               JUSTICE, the FBI, or the AUDITOR, to whom the DOCUMENT or any
               information recorded in the DOCUMENT has been disclosed;
            g. any and all dates on which the information included in the documents was
               disclosed to any person other than an officer or director of KELLY’S FOODS or
               any agent;
            h. the general subject matter of the DOCUMENT; and
            i. the reason, including, but not limited to, any legal obligation or privilege for
               withholding the DOCUMENT or portion thereof.
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     Requests

  Unless otherwise specified, all requests relate to the period January 1, 2012 through December 31,
  2019:
         1.       The telephone records for Dale Kelly and Chris Sharpe, along with the information
  requested that identifies the office and mobile phone numbers for Mr. Kelly and Mr. Sharpe.
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                                        DECLARATION
                                      FILED UNDER SEAL


  1. I have undertaken a review of all DOCUMENTS (as defined in Attachment [ ]) in my
     possession, custody and control, or in the possession, custody and control of KELLY’S
     FOODS responsive to the subpoena.

  2. True and correct copies of DOCUMENTS responsive to the subpoena are included herewith.

  3. Other than the DOCUMENTS produced herein or described in the privilege log submitted
     with this declaration, I know of no other DOCUMENTS responsive to the subpoena.


         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct. Executed at __________________ on ______________, _____.
